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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )
                                             )
                                             )
v.                                           )
                                             )       Criminal No. 1: 22-cr-166 (MAU)
JOHN GEORGE TODD III                         )
                                             )
                      Defendant              )
                                             )


                         DEFENDANT’S MOTION TO CONTINUE

       Comes Now, the Defendant, John Goerge Todd III by and through his counsel of record,

John M. Pierce, and respectfully moves the Court to grant an order continuing trial for this case

from October 17, 2023, to another date convenient for the Court and the Parties. Counsel

respectfully requests a continuance for the trial due to an incredibly compressed and overlapping

trial schedule over the next several months (attached as Exhibit A). Most specifically, I have

been retained and appeared in the case of United States v. Montgomery, et al., Case No. 21-cr-

46-RDM, a felony case with three defendants, all represented by separate sets of attorneys. That

case is scheduled for October 16, 2023.

       I also have another case set for trial on October 16, 2023 in United States v. Brock, Case

No. 21-cr-0500-CJN. District Judge Moss in the Montgomery case requested that I ensure I am

available for the October 16th trial date in that case (presumably because of the number of parties

and counsel involved in that case), and I indicated to the Court I would file a motion to continue

in both this case and the Brock case, or alternatively make arrangements for other counsel to try

this and the Brock case. Also making things more challenging is that my law firm partner, Roger

Roots, is still awaiting admission to the Court. Previously, we have filed pro hac vice



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applications for him in other cases, but it has become clear that numerous Judges would prefer

we not continue to file further PHV applications for him, but rather await his admission.

         As the Court is aware, this case also presents unique circumstances surrounding Mr.

Todd’s mental health treatment. He is doing well in that regard, but it would definitely benefit

Mr. Todd to be able to have several more months of treatment prior to undergoing the stress of a

trial.

         I apologize to the Court for my hectic and compressed trial calendar. I am sincerely doing

my absolute best under extremely challenging circumstances to assist as many defendants as

possible in the course of these prosecutions of historically unprecedented pace and scale.

         To the extent this motion is granted, Defendant moves for and/or consents to an exclusion

of time within which a trial must commence under the Speedy Trial Act for the time between

October 16, 2023 and a date convenient with the Court and Parties.

         WHEREFORE, Defendant John George Todd III, respectfully requests this Court, to

grant said relief and continue the trial in the interests of fairness and justice to a date convenient

with the Court and the Parties.



Dated: August 10, 2023


                                                                       Respectfully Submitted,


                                                                                   /s/ John M. Pierce
                                                                                       John M. Pierce
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                                                                                3rd Floor, PMB #172
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                                                                              Attorney for Defendant

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                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, August 10, 2023, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                             /s/ John M. Pierce
                                             John M. Pierce




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